Filed 8/27/24 In re Israel T. CA2/7
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions
not certified for publication or ordered published, except as specified by rule 8.1115(b). This opinion
has not been certified for publication or ordered published for purposes of rule 8.1115.


IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                      DIVISION SEVEN

 In re Israel T., Jr.,                                   B327425
 A Person Coming Under the
 Juvenile Court Law                                      (Los Angeles County
                                                         Super. Ct. No. 20CCJP04272)
 LOS ANGELES COUNTY
 DEPARTMENT OF CHILDREN
 AND FAMILY SERVICES,

           Plaintiff and Appellant,

           v.

 Israel T., Sr.,

           Defendant and
           Respondent.

 THE SUPERIOR COURT OF
 LOS ANGELES COUNTY,

           Respondent.
      Appeal from an order of the Superior Court of Los Angeles
County, Cathy J. Ostiller, Judge. Reversed and remanded with
directions.
      Dawyn R. Harrison, County Counsel, Kim Nemoy,
Assistant County Counsel, and Avedis Koutoujian, Deputy
County Counsel, for Plaintiff and Appellant.
      Elizabeth C. Alexander, under appointment by the Court of
Appeal, for Defendant and Respondent Israel T., Sr.
      No appearance for Respondent Superior Court of Los
Angeles County.
                     ______________________

       The Los Angeles County Department of Children and
Family Services (Department) appeals from the juvenile court’s
order releasing seven-year-old Israel T., Jr. (Israel Jr.), to his
father, Israel T., Sr. (Israel Sr.), pursuant to Welfare and
Institutions Code section 361.1 Israel Sr. does not challenge the
court’s jurisdiction findings that he sexually abused Israel Jr.’s
14-year-old half-sister I.F. over a several-year period, including
forcibly raping her, fondling her breasts, rubbing his penis
against her breasts and body, masturbating in her presence, and
forcing her to orally copulate his penis. Because the evidence
presented by the Department compels a finding that if Israel Jr.
were released to Israel Sr. he would face a substantial danger to
his physical health, safety, physical or emotional well-being, or of
sexual abuse, we reverse.




1    Further undesignated statutory references are to the
Welfare and Institutions Code.


                                 2
      FACTUAL AND PROCEDURAL BACKGROUND

A.     The Referral
       On September 13, 2022 Israel Jr.’s mother, Adriana C.,
contacted law enforcement to report that Israel Sr. had sexually
abused Adriana’s 14-year-old daughter, I.F.2 According to
Adriana, Israel Sr. sexually molested I.F. for two years while I.F.
was in middle school, including on September 9 and 12, 2022 (the
September 9 and September 12 incidents), and he raped I.F. on
an unidentified date. On September 13 the police arrested
Israel Sr., and he was charged with continuous sexual abuse of a
child.

B.     Police and Forensic Interviews, Medical Examination, and
       Police Reports
       1.    September 13, 2022 police interviews
       On September 13 two police officers interviewed I.F. and
her family at their home. The interview was recorded on a body
camera. When the officers arrived, Adriana was crying and
visibly upset. Adriana told the police officers that Israel Sr. had
inappropriately touched I.F. and put his penis inside her.
Adriana explained that I.F. was a slow learner who sometimes
had difficulty expressing herself.
       The police officers interviewed I.F. in the bedroom with
Adriana and I.F.’s sister Guadalupe F. present. I.F. was sitting
on the bed with her face down. She kept her head down, did not
make eye contact, and cried during parts of the interview. When
officers asked I.F. when Israel Sr. last “touched” her, I.F.


2     Adriana is not a party to this appeal.


                                 3
responded with respect to the September 12 incident, “Yesterday,
he touched me. When I was eating.” I.F. stated she did not recall
the time, but Israel Sr. had touched her with his penis on her
chest area. I.F. also reported that she saw Israel Sr. “touching
himself” over his clothes during the same incident and she
ignored him. The incident took place in the kitchen, no one else
was in the kitchen area, and her brother was in the shower.
       I.F. answered many of the officer’s questions with yes or no
responses, with few details. When asked whether Israel Sr. had
touched her “upper body” on other occasions, including under her
clothes, I.F. responded “yes.” I.F. also responded affirmatively
when the officers asked if Israel Sr. had touched the lower part of
her body, including her buttocks and female areas. When asked
whether the touching happened under or on top of her clothing,
I.F. responded “both.” I.F. also responded “yes” when she was
asked if Israel Sr. had shown her his penis; if he made her touch
him; if he put his penis in her mouth; and if he attempted to put
his penis in her body. When asked if Israel Sr. had ever put his
penis in her vagina or buttocks, I.F. stated, “I don’t know.” In
response to a question about when the touching started, I.F.
stated, “I think when I was in middle school.”
       The officers asked about incidents other than on
September 12, and I.F. asked Guadalupe, “When did we go to
Target?” Guadalupe responded that it was the prior Friday
(September 9). I.F. stated that on that day Israel Sr. touched the
front and back part of her “lower area” with his hand while they
were both standing. The officer then asked if Israel Sr. had ever
tried to put his fingers anywhere in her body, and I.F. responded
“yes.” The officers then took a break.




                                4
       When they returned, the officers asked about the incident
on September 9. I.F. stated she was in the bedroom after she had
taken a shower, and she had her pajamas on. Israel Sr. came in
and touched her buttocks over her clothing, then moved his
hands under her clothing to touch her breasts and vagina. The
officers asked whether Israel Sr. put his fingers inside of her, and
I.F. responded “no.” The officers then asked a second time if
Israel Sr. put his fingers inside of her, and I.F. responded, “Yes,
he used two fingers.” I.F. stated nothing else happened on that
day. She could not remember any other incidents.
       An officer asked Israel Jr. if he had ever been touched
inappropriately, and Israel Jr. denied being sexually abused.

       2.    September 13, 2022 SART exam
       A sexual assault response team (SART) examination was
conducted on September 13 at a medical center, but I.F. was
uncomfortable answering the questions about the sexual abuse.
I.F. stated “[y]es” when asked whether there had been penile and
digital penetration. She further stated Israel Sr. touched her
upper right arm and breast area over her clothing. Oral swabs
and external genitalia swabs were collected. However, I.F.
declined to have other swabs taken because she felt
uncomfortable, and Adriana terminated the examination.

      3.    September 14, 2022 police interviews
      On September 14, 2022 police detectives conducted follow-
up interviews with I.F. and her family in their home. Adriana
explained that the family lived together in their one-bedroom
apartment. Adriana, Israel Sr., and Israel Jr. slept in the
bedroom, and the three other children slept in the living room.



                                 5
I.F. and Guadalupe slept on bunk beds, and Adriana’s 19-year-old
son Adrian slept on a single bed. Cristobalina, Israel Jr.’s
maternal grandmother, slept on the couch in the living room.
Adriana first learned of the abuse when she was called into the
school counselor’s office on September 13. I.F. was visibly upset
and crying. After learning of the abuse, Adriana and Adrian
went to Israel Sr.’s workplace to confront him about the abuse.
He denied doing anything wrong and stated I.F. was lying.
        Fifteen-year-old Guadalupe stated that on September 13,
2022 she was called into the counselor’s office at school because
I.F. was crying. Guadalupe then called Adriana to come to the
school. I.F. disclosed to Adriana that Israel Sr. would put his
private part inside of her, but I.F. was not certain where he put
it. I.F. added that on numerous occasions Israel Sr. would grab
her over her clothing. Guadalupe was unaware of anything
inappropriate until I.F. disclosed the abuse in the counselor’s
office.
        I.F. was tired, quiet, and had a difficult time talking. She
recounted the incident when she was eating soup at the table and
Israel Sr. poked her with his private part. The detectives asked
what private part he poked her with, and I.F. “pointed at her
crotch area.”
        Cristobalina and Adrian stated they were unaware of any
inappropriate touching or sexual abuse by Israel Sr. Cristobalina
stated Israel Sr. was a good man who supported his family, but
she believed I.F.’s allegations. Adrian stated that on one occasion
I.F. told him that Israel Sr. would touch her in the middle of the
night, he would touch her skin-to-skin, and he would touch her
with his penis. Adrian did not believe I.F. was “capable of coming
up with this type of lie” about the sexual abuse.



                                 6
       Israel Jr. had difficulty answering questions but stated no
one had ever touched him inappropriately and he had never seen
anyone in his family be touched inappropriately.
       The following day the detectives interviewed Israel Sr., who
was detained. He explained he had no idea what was happening
when Adriana confronted him at his job about the alleged sexual
abuse. Israel Sr. explained he cared very much for the girls and
did a lot to take care of the family. Israel Sr. stated he did not
know why I.F. would make up the allegations against him but
noted she had a learning disability. The detectives utilized a
ruse and told Israel Sr. they found his DNA on I.F.’s private
parts. Israel Sr. “did not have an answer,” and, according to the
detectives, he “never denied inappropriately touching or sexually
abusing the victim.”

      4.     September 14, 2022 Inner Circle Child Advocacy
             Center forensic interview
       On September 14 Susy Flores from the Child Advocacy
Center conducted a forensic interview with I.F. Flores began the
interview by explaining to I.F. that if she did not know an
answer, she should let Flores know; she should feel free to ask for
clarification if she did not understand a question; and she should
correct Flores if Flores stated something incorrectly.
       After building a rapport with I.F. by discussing a video
game I.F. enjoyed playing, Flores began asking questions about
the sexual abuse allegations. During the interview, I.F. stated
she was tired and did not feel well. The questioning proceeded
with long pauses between the questions and I.F.’s responses.
Flores asked about the September 12 incident. I.F. explained she
was eating soup at the table and Israel Sr. was in the kitchen.



                                 7
Israel Sr. came out and touched I.F. on her upper arm and
shoulder area with “his part” while she was sitting at the table.
I.F. explained it felt “[l]ike being poked.” I.F. felt uncomfortable,
and she ignored him. Israel Sr. appeared to gesture with “[h]is
part” for her to come into the kitchen. He did so “by touching
himself,” although he had his pants on. I.F. ignored him. I.F.
explained Israel Sr. was touching “his part.” Flores asked I.F. if
she had another name for “his part,” and I.F. responded, “[his]
private” and motioned to her pelvis. At the time the incident
happened, Israel Jr. was taking a shower, Adrian was in his bed,
her grandmother was on the couch, and her mother was sleeping.
       Flores asked about the first time Israel Sr. touched her.
I.F. stated they were on the bed watching a movie about “a
different world humans went to a world filled with monkeys.”
I.F. sat in the middle of bed, and Israel Sr. sat on the side. They
were both “in the blanket.” Israel Sr. started moving closer to
I.F., which made her feel uncomfortable. She “leapt away and
went into the corner [of the bed].” I.F. could not remember how
old she was when this happened. Adriana was home but in a
different room.
       At this point Flores paused the interview. When she
returned, Flores said they were done with the interview for the
day. She asked I.F. what she planned to do after the interview.
I.F. said she was going to cry. She added, “I cry a lot” about “sad
things.”3



3     According to a September 16, 2022 police investigation
follow-up report, the district attorney declined to press charges
against Israel Sr. pending a DNA analysis of I.F.’s and
Israel Sr.’s examinations.


                                  8
      5.     The September and October 2022 social worker
             interviews
       On September 15, 2022 the social worker interviewed the
family members privately at the family home. Adriana stated
she and Israel Sr. had been together for eight years, and they had
a good relationship and supported each other. Adriana never
suspected something inappropriate was going on. Adriana
described I.F. as a little “different,” which she felt made I.F. an
easy target.
       Guadalupe described what I.F. told her on September 12 in
the counselor’s office, where she found I.F. crying. I.F. said that a
few days earlier Israel Sr. rubbed his penis on her breasts and
made her touch his penis, and she could not take it any longer.
Israel Sr. had been touching her since middle school, and I.F.
recounted several incidents, including when Israel Sr. put his
penis inside of her. The incidents would occur in the kitchen or
in the middle of the night when everyone was sleeping.
       On September 22 the social worker met with I.F. privately.
I.F. was in the bedroom “half asleep” and told the social worker
she was tired and mostly takes naps during the day. I.F.
appeared comfortable speaking with the social worker until the
social worker brought up Israel Sr. I.F. refused to speak about
what happened, noting only that Israel Sr. would make her
strawberry smoothies and soup. The social worked observed that
I.F. understood the questions, but she responded in a way that
was younger than her age.
       The social worker also met privately with Israel Jr.
Israel Jr. missed his father and wanted to see him more often,
but his father had to work. Israel Jr. confirmed that he knew
what his private parts were and denied anyone had ever touched



                                 9
them. He was aware of the difference between appropriate and
inappropriate touching, and he stated only a doctor was allowed
to touch his private parts when they hurt.
      Cristobalina stated she was very surprised to hear the
allegations against Israel Jr. She believed I.F., but she had a
hard time understanding how the abuse could have happened
because either she or Adriana was always home. She observed
Israel Sr. acting appropriately with the children, and he did not
treat Guadalupe and I.F. differently. Cristobalina believed
Israel Sr. loved the children as his own. Israel Jr. was very
attached to his father and would sleep in the bedroom with him
because Adriana worked the night shifts.
      On October 7, 2022 the social worker interviewed Israel Sr.
at the social worker’s office. Israel Sr. explained Adriana and
Adrian confronted him at work about I.F.’s sexual abuse
allegations and he had no idea what they were talking about. He
stated he had not and would never hurt any of the children.
Israel Sr. denied any prior criminal history, medical problems,
mental health issues, substantive abuse, or domestic violence.
      On October 26, 2022 the juvenile court authorized the
temporary removal of Israel Jr. from Israel Sr.

C.     The Dependency Petition and Detention
       On October 28, 2022 the Department filed a section 300
petition on behalf of then-16-year-old Guadalupe, 14-year-old
I.F., and seven-year old Israel Jr. The petition alleged under
section 300, subdivisions (b), (d), and (j), that Israel Sr.’s sexual
abuse of I.F. in September 2022 and on prior occasions and
Adriana’s failure to protect I.F. and her siblings endangered their
physical health and safety and placed them at risk of serious



                                 10
physical harm and sexual abuse. The petition specifically alleged
that Israel Sr. “forcefully rap[ed]” I.F. by placing his penis in her
vagina, caused I.F. to orally copulate Israel Sr.’s penis, fondled
her breasts, masturbated in her presence, and rubbed his penis
against her breasts and body.
      On November 14, 2022 the juvenile court removed
Israel Jr. from Israel Sr. and released him to Adriana. The court
ordered Israel Sr. to stay away from the family home and granted
him three hours of monitored visitation three times a week at a
neutral location.

D.      January 4, 2024 Jurisdiction/Disposition Report and Last
        Minute Information for the Court
        In December 2022 the social worker privately interviewed
I.F., Adriana, Guadalupe, Israel Jr., Adrian, Israel Sr., and
Israel Jr.’s paternal aunt (Mabel T.). The social worker asked
I.F. if she recalled what she told Guadalupe at the counselor’s
office. I.F. nodded yes, and she began to cry. After a few
moments, I.F. stated, “‘The police told me to answer questions
and say yes or no. It’s easier than saying details.’” I.F. was able
to identify her body parts by name. When the social worker
began reading the allegations against Israel Sr., I.F. stated, “‘It’s
true.’” The social worker then asked I.F. where Israel Sr. had
touched her inappropriately, and I.F. answered, “‘Probably
everywhere.’” When asked whether she was touched under or
over her clothing, I.F. said “[b]oth.” I.F. stated the incidents
began “‘[s]ince elementary or something. I can’t remember the
dates.’” Further, in response to the social worker reading the
allegation that Israel Sr. inserted two fingers in her vagina, I.F.
responded “‘[y]es.’” But when the social worker asked I.F.



                                 11
specifically about the oral copulation and rape allegations, I.F.
remained quiet with tears in her eyes and said she was sleepy
and did not want to talk about it. The social worker noted that
I.F. “seemed to avoid” the questions about the allegations and did
not answer any open-ended questions.
        Adriana stated that on September 13, 2022, when she
picked up I.F. and Guadalupe from school, they were both crying.
I.F. told her that “‘Israel [Sr.] has been touching me.’” I.F. said
“‘she feels like she has PTSD. When he got home, his footsteps,
the sound of the truck when he’d get here—she could just sense
him coming.’” I.F. told her that when Adriana began working at
night in 2018, Israel Sr. would go to her during the night and
touch her. Adriana also recounted the same facts that I.F.
previously told the police regarding the September 9 and 11
incidents, as well as two instances of rape (one in the kitchen
while the family was outside, and one in the bedroom while I.F.
was taking a nap). Guadalupe similarly described what I.F. said
on September 13 about the sexual abuse.
        Adrian provided additional details of what I.F. told him
(and Adriana and Guadalupe) on September 12. Adrian stated,
“‘[I.F.] said the first time it happened was before we got the bunk
beds. We used to have three different beds. This was my
freshman year, so it was either in 2017 or 2018. [I.F.] said it
would happen in the morning before my mom was home from
work. . . . She said he would also target her whenever she was
alone. One time she was washing the dishes and he pulled down
her pants . . . and raped her. . . . She also said he threatened her
and said he would kidnap her and my brother if she said
anything. She said it was a regular thing.’”




                                12
       Israel Sr. told the social worker as to the allegations, “‘It’s a
lie—it’s absurd. How can you rape a person you care for. At
what point can such a thing happen? If we were always
surrounded by people—no. At no time was I alone with her.
There was always someone with us. For that to happen it would
take time. I don’t see the logic of such an accusation.’” When
asked about masturbating in front of I.F. on September 14, 2022,
Israel Sr. said he wasn’t there because he had been arrested and
detained by police.4 Israel Sr. explained that when he was
arrested, he declined to have a lawyer because he felt he did not
need one. Israel Sr. stated, “‘Everything that I am being accused
of is false. There is no proof because it never happened.’”
       Israel Sr. explained that he came into I.F. and Guadalupe’s
lives when they were very young. He was the one who cared for
them, including cooking for them, and Adriana “‘is not a bad
mother, but she is not attentive with them and does not pay her
children any attention.’” Israel Sr. stated he was sending
approximately $400 per month to Adriana for Israel Jr.’s
expenses. Israel Sr. was at the time living at his sister’s home,
but he planned eventually to get his own home. Israel Sr. was
not enrolled in any services, but he was willing to do so in order
to reunify with his son.
       Mabel T., Israel Jr.’s paternal aunt, stated her belief that
Israel Sr. had been falsely accused and was innocent. Mabel
noted that Israel Sr., not Adriana, had been the one taking care



4     The social worker mistakenly asked Israel Sr. about a
September 14 incident, but I.F. reported that the incident
occurred on September 11. Israel Sr. was arrested on
September 13.


                                  13
of Israel Jr., and that in his absence, Guadalupe was caring for
Israel Jr.
       The psychiatric social worker at the high school told the
Department social worker that when I.F. came to her office on
September 12, she sat down and started hysterically crying for
about 40 minutes. She did not respond to the social worker’s
questions. The counselor called Guadalupe into the office, and
the two girls talked privately for five to 10 minutes. When the
social worker returned, both girls were crying and would not
speak. They asked for their mother to pick them up. The school
counselor stated that after I.F.’s report about the sexual abuse
she was absent a lot. The counselor added, “‘She’s nervous—
anxious—about being in school. The first couple of days were
kind of rough. Then she started missing school. She
doesn’t say a lot. When stressed, she has a meltdown and it
takes a long time for her to calm down.’” According to a high
school staff member, I.F. had an individual education plan (IEP)
in place due to a learning disability. Since I.F. disclosed the
abuse, I.F. sometimes cried in class. I.F. did not explain why she
was crying, and when the school staff member asked I.F. how she
was doing, I.F. would begin to cry.
       The Department stated in its January 11, 2023
jurisdiction/disposition report that there was a substantial
danger to the children’s well-being based on Israel Sr.’s sexual
abuse of I.F. The Department conducted a risk assessment and
concluded the family was at “‘very high’” risk. It recommended
continued detention of Israel Jr. from Israel Sr.
       The February 24, 2023 last minute information for the
court reported that Guadalupe, I.F., and Israel Jr. were living
with Adriana. Israel Sr. had monitored visits with Israel Jr.



                                14
twice a week without problems. Guadalupe and Israel were
doing well, but I.F. was struggling with her mental health and
refusing to go to school or leave the house. She spent the
majority of her time in bed and reported that she was always
tired. She was “quiet and often shuts down.” The family
members had started individual therapy. Adriana, Adrian, and
Guadalupe stated that they all believed I.F.’s statements and did
not believe she had a reason to lie. The social worker reported
that I.F. had disclosed to her mother that Israel Sr. had
threatened to “‘kidnap’” her and Israel Jr. if I.F. told anyone what
had happened. Israel Sr. continued to deny the allegations. He
acknowledged he had not enrolled in any services, but stated he
was not aware he was ordered to do so.

E.    The Jurisdiction and Disposition Hearing and Amended
      Petition
      At the March 22, 2023 jurisdiction and disposition hearing,
the juvenile court admitted the Department’s prior reports; a
DVD containing body camera footage of the September 13, 2022
interview with I.F.; and a DVD containing the September 14,
2022 forensic interview with I.F, including a transcription.5 No
testimony was presented at the hearing.

5     The juvenile court excluded the Department’s Exhibit 7, a
transcription of the September 13 police interview of I.F., as
unnecessary given the DVD of the interview and the “very
thorough [March 21, 2023 last minute information] describing
the interview.” We granted the Department’s November 1, 2023
motion for judicial notice (which we deemed a motion to augment
the record), which included a transcription of the September 14,
2022 forensic interview of I.F. In its motion the Department



                                15
       Counsel for Israel Sr. argued the petition should be
dismissed based on lack of evidence because I.F., after disclosing
the sexual abuse, was not “able to describe or verify the
statements that she allegedly made to her family.” Israel’s
counsel observed that in the September 13 police interview, as
shown on the videotape, I.F. was only able to answer yes-or-no
questions, provided no additional details about the alleged abuse,
and did not make any eye contact. Counsel argued this was
“because [the abuse] didn’t occur and that she feels a certain
amount of guilt about having made the allegations to her
mother.” Counsel also described I.F. being “more tight-lipped”
during the subsequent forensic interview. Further, following a
police investigation, no criminal case was filed against Israel Sr.
In addition, “[t]he statements [about Israel Sr.’s alleged abuse]
seem to be coming primarily from mother and the allegations
that [I.F.] told her mother of these details,” and although I.F.
confirmed what she told her mother about the abuse, I.F.’s
statements “lack[ed] the indicia of reliability . . . [the] court
need[ed] in order to sustain, again, this extremely serious
allegation against my client.” Counsel reiterated that Israel Sr.
maintained his innocence and referred to the allegations as
“absurd.”
       The attorney for I.F. and Guadalupe urged the juvenile
court to sustain the petition as alleged. She highlighted I.F.’s
descriptions of abuse, including that Israel Sr. had touched her


explained the appellate record inadvertently included a
transcription of the police interview, rather than a transcription
of the forensic interview. We have not considered the
transcription of the police interview because it was excluded by
the juvenile court.


                                16
for the first time while they were watching a movie together and
had touched her inappropriately multiple times over and under
her clothing since elementary school. In addition, I.F. answered
affirmatively when asked during her police interview whether
Israel Sr. had touched her breasts, showed her his penis, touched
his penis in her presence, made her touch his penis, and placed
his penis in her mouth and in her body. I.F. had remained
consistent in her responses, and she had not recanted any of her
statements. Moreover, given I.F.’s “possible learning
disabilities,” it was “highly unlikely that she would have reason
to lie about the sex abuse allegations.”
       Israel Jr.’s attorney similarly argued the petition should be
sustained as alleged. Specific to Israel Jr., counsel argued
Israel Sr.’s “conduct towards [I.F.], the severity, the duration, the
fact that it happened in the family home in plain sight while my
client was in the home does put my client at risk . . . .”
       The attorney for the Department argued that I.F. presented
with a learning disability, which supported an inference “that she
doesn’t really have the capacity to create allegations like this
unless it otherwise happened.” Further, it made it harder for I.F.
to verbalize what happened in contrast to a person without a
learning disability. The attorney noted that I.F.’s responses and
demeanor were “not uncommon due to children being
embarrassed about what happened, due to them not wanting to
relive the trauma . . . .”
       The juvenile court found by a preponderance of evidence
that the allegations under section 300, subdivisions (d) and (j), as




                                 17
amended,6 were true as to Israel Sr. The court observed as to
I.F., “the way she presents in the interview, . . . her comments,
her responses are all indicative of a child that has gone through
significant trauma,” and “her emotional reaction is entirely
consistent with somebody who has suffered what she has
suffered.” The court found I.F. “to be quite credible” and,
notwithstanding any learning disabilities, “she made it very
clear” that she had been abused.
        The Department argued that Israel Jr. should be removed
from Israel Sr. given that the juvenile court had sustained the
sexual abuse allegations, and “in light of how intensive and how
long that this trauma and abuse was going on in the home where
other children are present.” Further, Israel Sr. had “not
addressed any of his sexual proclivities.” Counsel for Israel Jr.
joined the Department’s recommendation, arguing the
Department had met its burden for removal by clear and
convincing evidence.
        Israel Sr.’s attorney argued that Israel Jr. should be
released to Israel Sr. because the Department failed to
demonstrate by clear and convincing evidence that doing so
would pose a substantial risk to Israel Jr. He asserted Israel Sr.
had not acted inappropriately towards Israel Jr. and Israel Jr.
was “differently situated” from I.F. given that he was a male and
a biological child of Israel Sr. Further, there was no evidence



6     The juvenile court granted the Department’s request to
amend the petition to change the date of the kitchen incident to
September 11 instead of September 14, 2022. The court also
found Adriana was nonoffending and struck the allegations under
section 300, subdivision (b)(1), that Mother failed to protect I.F.


                                18
that Israel Sr. would “turn to abuse of a biological son as opposed
to a non[-]biological daughter.”
      The juvenile court ordered Israel Jr. released to Israel Sr.
over the objections of the Department and Israel Jr., finding the
release “would not be detrimental to the safety, protection, or
physical or emotional well-being of the child.” Further, the court
found that services were “available to prevent detention,” but it
did not otherwise indicate the reasons for its decision. The court
ordered Adriana’s home would be Israel Jr.’s primary residence,
with the Department to make unannounced home visits to check
on Israel Jr., and the court ordered the Department to provide
Adriana and Israel Sr. a referral for family preservation services.
Additionally, Israel Sr.’s case plan required him to participate in
parenting classes, sex abuse counseling for perpetrators, and
individual counseling. The court ordered I.F. and Guadalupe
removed from Israel Sr. and released to Adriana. ~(RT 936)

                          DISCUSSION

A.    Applicable Law
      Section 300, subdivision (d), provides that the juvenile
court may exercise jurisdiction over a minor who “has been
sexually abused, or there is a substantial risk that the child will
be sexually abused, as defined in Section 11165.1 of the Penal
Code, by the child’s parent or guardian or a member of the child’s
household . . . .” Section 300, subdivision (j), provides that
jurisdiction may be assumed over a child whose sibling has been
abused or neglected as defined in subdivision (d) of section 300
and “there is a substantial risk that the child will be abused or
neglected . . . . The court shall consider the circumstances



                                19
surrounding the abuse or neglect of the sibling, the age and
gender of each child, the nature of the abuse or neglect of the
sibling, the mental condition of the parent or guardian, and any
other factors the court considers probative in determining
whether there is a substantial risk to the child.” The Department
has the burden to prove jurisdiction findings by a preponderance
of the evidence. (Cynthia D. v. Superior Court (1993) 5 Cal.4th
242, 248; In re E.E. (2020) 49 Cal.App.5th 195, 205-206.)
       Section 361, subdivision (c)(1) and (4), provides with
respect to removal of a child once the juvenile court declares a
child to be a dependent child of the juvenile court, “A dependent
child shall not be taken from the physical custody of his or her
parents . . . with whom the child resides at the time the petition
was initiated, unless the juvenile court finds clear and convincing
evidence . . . : [¶] (1) There is or would be a substantial danger
to the physical health, safety, protection, or physical or emotional
well-being of the minor if the minor were returned home, and
there are no reasonable means by which the minor’s physical
health can be protected without removing the minor from the
minor’s parent’s . . . physical custody. [¶] . . . [¶] (4) The minor or
a sibling of the minor has been sexually abused, or is deemed to
be at substantial risk of being sexually abused, by a parent . . .
and there are no reasonable means by which the minor can be
protected from further sexual abuse or a substantial risk of
sexual abuse without removing the minor from his or her
parent . . . .” In considering whether a risk of detriment exists
sufficient to justify removal, “‘the juvenile court may consider the
parent’s past conduct and current circumstances, and the
parent’s response to the conditions that gave rise to juvenile court
intervention.’” (In re M.D. (2023) 93 Cal.App.5th 836, 856;



                                  20
accord, In re D.B. (2018) 26 Cal.App.5th 320, 332; In re A.S.
(2011) 202 Cal.App.4th 237, 247, disapproved on other grounds in
Conservatorship of O.B. (2020) 9 Cal.5th 989, 1010, fn. 7.) It is
the Department’s burden to prove by clear and convincing
evidence that removal is necessary. (Cynthia D. v. Superior
Court, supra, 5 Cal.4th at p. 248; accord, In re E.E., supra,
49 Cal.App.5th at pp. 205-206.)
       “In general, when presented with a challenge to the
sufficiency of the evidence associated with a finding requiring
clear and convincing evidence, the court must determine whether
the record, viewed as a whole, contains substantial evidence from
which a reasonable trier of fact could have made the finding of
high probability demanded by this standard of proof.”
(Conservatorship of O.B., supra, 9 Cal.5th at p. 1005, fn. omitted.)
However, where, as here, the juvenile court has determined the
Department did not satisfy its burden of proof, we ask whether
the evidence compels a finding in favor of the Department as a
matter of law. (In re Luis H. (2017) 14 Cal.App.5th 1223, 1227;
In re Aurora P. (2015) 241 Cal.App.4th 1142, 1156; see In re D.C.
(2021) 60 Cal.App.5th 915, 921.) Specifically, the Department
must demonstrate its evidence “‘was (1) “uncontradicted and
unimpeached” and (2) “of such a character and weight as to leave
no room for a judicial determination that it was insufficient to
support a finding.”’” (In re Luis H., at p. 1227; accord, In re D.C.,
at p. 921.)

B.     The Evidence Compels a Finding in Favor of the
       Department as a Matter of Law
       The Department contends its evidence supporting removal
of Israel Jr. from his father—the egregious sexual abuse of I.F.,



                                 21
Israel Sr.’s ongoing denial of any abuse, and Israel Sr.’s failure to
address any of the issues giving rise to dependency jurisdiction—
compels a removal finding in its favor. The Department further
argues Israel Sr. cannot contest this evidence, which the
Department relied on to establish jurisdiction, because Israel Sr.
does not challenge the jurisdiction finding on appeal. Israel Sr.
responds that his failure to challenge the jurisdiction finding does
not mean there is clear and convincing evidence that Israel Jr.
must be removed from him, given the lower evidentiary standard
to support jurisdiction (by a preponderance of the evidence).
Israel Sr. argues he never abused Israel Jr., and Israel Jr. and
I.F. are differently situated because Israel Jr. is a biological child
and male.
       We agree with Israel Sr. that the juvenile court’s
jurisdiction finding that Israel Jr. was at substantial risk of harm
from Israel Sr.’s sexual abuse of I.F. does not mean removal is
necessary given the higher standard of proof for removal.
(Compare § 300 with § 361, subd. (c); see In re E.E., supra,
49 Cal.App.5th at p. 218 [a finding that a child is a dependent
generally does not serve as prima facie evidence for removal].)
Rather, we must determine whether there is clear and convincing
evidence that if Israel Jr. was not removed, there would be a
substantial danger to his physical health, safety, protection, or
physical or emotional well-being, or a substantial risk of being
sexually abused, with no reasonable means to protect Israel Jr.
absent removal. Further, because the Department had the
burden in the juvenile court, on appeal the Department must
show its evidence was uncontradicted and unimpeached and of
such character and weight that it compels a finding in favor of
the Department. That high bar is met here.



                                 22
        In analyzing the risk of detriment to support removal, we
consider evidence about “‘the parent’s past conduct and current
circumstances, and the parent’s response to the conditions that
gave rise to juvenile court intervention.’” (In re M.D., supra,
93 Cal.App.5th at p. 856.) In addition, because the juvenile court
sustained the petition on behalf of Israel Jr. based on abuse of his
half-sister pursuant to section 300, subdivision (j), we find
instructive the factors set forth in subdivision (j) for assessing
harm, as well as the Supreme Court’s guidance in I.J., supra,
56 Cal.4th 766 on how to analyze the risk of harm to a child
where a parent has sexually abused the parent’s child of a
different gender.
        In I.J., over the course of three years, the father repeatedly
sexually abused his oldest daughter, including fondling, digital
penetration of her vagina, forcible rape, and oral copulation.
(I.J., supra, 56 Cal.4th at p. 771.) In affirming the juvenile
court’s jurisdiction finding that the father’s sons were at
substantial risk of harm, the court focused on the duration and
nature of the sexual abuse inflicted on the daughter, describing it
as “‘aberrant in the extreme,’” and explaining “a father’s
prolonged and egregious sexual abuse of his own child may
provide substantial evidence to support a finding that all his
children are juvenile court dependents.” (Id. at pp. 770, 778.)
“‘Also relevant to the totality of the circumstances surrounding
the sibling abuse is the violation of trust shown by sexually
abusing one child while the other children were living in the
same home and could easily have learned of or even interrupted
the abuse.” (Id. at p. 778.) The court acknowledged that
“‘[a]lthough the danger of sexual abuse of a female sibling in such
a situation may be greater than the danger of sexual abuse of a



                                 23
male sibling, the danger of sexual abuse to the male sibling is
nonetheless still substantial.’ [Citation.] The juvenile court need
not compare relative risks to assume jurisdiction over all the
children of a sexual abuser, especially when the abuse was as
severe and prolonged as here.” (Id. at p. 780; see id. at p. 778
[“the more egregious the abuse, the more appropriate for the
juvenile court to assume jurisdiction over the siblings”].)
        Although I.J. was decided in the context of a challenge to
the jurisdiction findings, the Supreme Court contemplated that
sexual or physical abuse of a child could lead to removal of
siblings of a different gender: “‘[S]exual or other serious physical
abuse of a child by an adult constitutes a fundamental betrayal of
the appropriate relationship between the generations. . . . When a
parent abuses his or her own child, . . . the parent also abandons
and contravenes the parental role. Such misparenting is among
the specific compelling circumstances which may justify state
intervention, including an interruption of parental custody.’”
(I.J., supra, 56 Cal.4th at p. 778, italics added.) Further, “when a
father severely sexually abuses his own child, the court may
assume jurisdiction over, and take steps to protect, the child’s
siblings.” (Id. at p. 780, italics added; see In re I.C. (2018)
4 Cal.5th 869, 876 [citing I.J. for the proposition that the juvenile
court “may also order that the child be removed from a parent’s
physical custody if there is clear and convincing evidence that
removal is necessary to protect the child from a substantial risk
of harm”].)
        With respect to evidence of the circumstances surrounding
Israel Sr.’s sexual abuse of I.F., the Department relies in part on
the same evidence the juvenile court found sufficient to establish
jurisdiction. (See In re Andy G. (2010) 183 Cal.App.4th 1405,



                                 24
1415 [explaining in affirming juvenile court’s order removing son
from father based on sexual abuse of half-sisters, “the record
contains sufficient evidence, as described ante [in support of the
jurisdiction findings], from which a reasonable trier of fact could
find a substantial danger to Andy by clear and convincing
evidence.”].) The court asserted jurisdiction over Israel Jr. based
on Israel Sr.’s sexual abuse of I.F. on two occasions in
September 2022, which involved fondling, digital penetration,
and masturbation in front of I.F. The court also found that on
prior occasions Israel Sr. “forcefully rap[ed] the child by placing
[his] penis inside the child’s vagina,” forced I.F. to orally copulate
him, and rubbed his penis against I.F.’s breasts and other parts
of her body. In sustaining these allegations, the court found I.F.
was credible. On appeal, Israel Sr. does not contest the factual
findings that supported dependency jurisdiction or the juvenile
court’s ruling on I.F.’s credibility.
       With respect to the nature of the abuse, Israel Sr.’s sexual
abuse of I.F. was, as in I.J., egregious and prolonged. (See I.J.,
supra, 56 Cal.4th at p. 778.) I.F. was interviewed by the police, a
forensic interviewer, and social workers over several months, and
she made consistent statements about how Israel Sr. had
sexually abused her. Although I.F. gave yes-or-no answers to
many of the interviewers’ questions, I.F. identified in detail the
September 9 and 11 incidents. I.F.’s description of what
happened—told both to family members and the interviewers—
did not change, and she did not recant her statements. Further,
Adrian recounted that I.F. told him the abuse had been going on
for at least four years (since 2017 or 2018), and I.F. told the social
worker the abuse had been going on since she was in elementary
school. In addition, I.F. exhibited the effects of trauma—crying



                                 25
hysterically in the counselor’s office the day after the incident in
the kitchen, crying at times following the disclosure, sleeping
most of the day, and refusing to go to school or leave the house.
       Israel Jr.’s age is also relevant. Israel Jr. was seven years
old at the time of removal, just two or three years younger than
the age Israel Sr. first started to sexually abuse I.F. (at nine or
10 years old). (See In re P.A. (2006) 144 Cal.App.4th 1339, 1345
[affirming dependency jurisdiction over father’s sons, observing
the sons were five and eight years old, and the daughter was nine
years old when father began to abuse her].)
       With respect to the mental condition of the parent, it is
undisputed that the sexual abuse took place in the family home
while family members, including Israel Jr., were at home. That
the abuse took place in the family home meant Israel Jr. could
have been exposed to the abuse, and given his young age, had he
learned of the abuse, this would have placed him at further risk
of harm. Israel Sr.’s sexual abuse of I.F. in the home shows his
violation of trust to his children and lack of concern for their well-
being. (See I.J., supra, 56 Cal.4th at p. 778 [father’s abuse of
daughter while other children living in the home could have
easily learned of or seen the abuse violated father’s relationship
of trust, contravened father’s parental role, and could “‘justify
state intervention, including an interruption of parental
custody’”]; In re Andy G., supra, 183 Cal.App.4th at pp. 1414-
1415 [affirming jurisdiction findings and disposition order,
observing that father who exposed himself to son’s half-sister
while son was in the same room “evinces, at best, a total lack of
concern for whether Andy might observe his aberrant sexual
behavior”].)




                                 26
       Moreover, Israel Sr. repeatedly denied he had sexually
abused I.F., increasing the risk of harm to Israel Jr. if released to
his father because “[o]ne cannot correct a problem one fails to
acknowledge.” (In re Gabriel K. (2012) 203 Cal.App.4th 188, 197;
see In re A.F. (2016) 3 Cal.App.5th 283, 293 [“In light of mother’s
failure to recognize the risks to which she was exposing the
minor, there was no reason to believe the conditions would not
persist should the minor remain in her home.”].) In addition, the
disposition hearing took place approximately four months after
the detention hearing at which Israel Jr. was removed from his
father’s custody. During that time, although Israel Sr. expressed
his willingness to do anything to reunite with his son, there was
no evidence Israel Sr. took any steps to alleviate the causes
necessitating the filing of a dependency petition.
       The record does not reflect any reasonable means to protect
Israel Jr. absent removal. The juvenile court ordered
unannounced home visits and a referral for family preservation
services. However, unannounced visits by a social worker would
not alleviate the significant risk that Israel Sr. would sexually
abuse Israel when the social worker was not present. (See In re
D.C. (2015) 243 Cal.App.4th 41, 56 [where mother failed to
protect her daughter from father’s year-long course of sexual
abuse and minimized the abuse, “[t]he evidence supports the
finding that the measures [mother] suggests, including ‘in-home
services, unannounced visits, and therapy for the parties,’ would
not have addressed the substantial risk evident in leaving the
minors with [parent] unsupervised”]; Los Angeles County Dept. of
Children &amp; Family Services v. Superior Court (2006)
145 Cal.App.4th 692, 699 [family court abused its discretion in
allowing father, who had sexually abused his child, to return to



                                 27
live with his son on the condition his contact be monitored
because “the concept of monitored visitation is fundamentally
incompatible with around-the-clock in-home contact”].)
Moreover, Israel Sr. had sexually abused I.F. in the home while
other family members were present, making it unlikely that the
possibility of an unannounced visit by a social worker would
lessen the likelihood of sexual abuse of Israel Jr. (especially given
that Israel Sr. could simply not answer the door).
       Israel Sr. does not on appeal challenge the jurisdiction
finding, including the underlying facts supporting the jurisdiction
order, instead arguing we should affirm the juvenile court’s order
releasing Israel Jr. to his care because Israel Jr. and I.F. are
differently situated given that Israel Jr. is a biological child and
male. Israel Sr.’s argument is not persuasive.
       As in I.J., supra, 56 Cal.4th at pages 770 and 778, in which
the Supreme Court found a substantial risk of harm to the
daughter’s three male siblings, Israel Sr.’s sexual abuse of I.F.
was “aberrant,” “prolonged and egregious.” Although the risk to
Israel Jr. may have been lower than that posed to his half-sister
Guadalupe, in light of the egregiousness of the sexual abuse, the
risk of harm to Israel Jr. if he were returned to live with Israel
Sr. was substantial. (See Los Angeles County Dept. of Children &amp;
Family Services v. Superior Court (2013) 215 Cal.App.4th 962,
968, 970 [“[c]ases overwhelmingly hold that sexual abuse of one
child may constitute substantial evidence of a risk to another
child in the household—even to a sibling of a different sex or age
or to a half sibling.”]; In re Ricky T. (2013) 214 Cal.App.4th 515,
517 [grandfather’s sexual abuse of his nine- and 12-year-old step-
granddaughters supported jurisdiction over three-year-old
grandson]; In re Ana C. (2012) 204 Cal.App.4th 1317, 1319-1320,



                                 28
1325, 1332 [affirming jurisdiction over minor who was three or
four years old at the time of hearing, based on finding that child’s
father began sexually abusing his stepdaughter when she was
10 or 11 years old].) Israel Sr. cites to no authority holding the
risk to a nonbiological child living in the home is any less than
the risk to a biological child.
       Finally, Israel Sr. argues there was evidence he had never
sexually abused Israel Jr., pointing to Israel Jr.’s confirmation
that nothing had ever happened. However, a child may be
removed if he faces a substantial danger to his well-being or if his
sibling has been sexually abused. (§ 361, subds. (c)(1) &amp; (c)(4).)
Also, “‘[t]he parent need not be dangerous and the child need not
have been actually harmed for removal to be appropriate. The
focus of the statute is on averting harm to the child.’” (In re M.D.,
supra, 93 Cal.App.5th at pp. 856-857; accord, In re Cole C. (2009)
174 Cal.App.4th 900, 917.) Further, the evidence that Israel Sr.
had not abused his son does not contradict the evidence that
Israel Sr. sexually abused I.F. In light of Israel Sr.’s past conduct
in committing egregious sexual abuse over an extended period of
time, committing the abuse while Israel Jr. and other family
members were home, continuing to deny the abuse, and failing to
take any steps to address his deviant sexual behavior, the nature
and weight of the evidence met the clear and convincing standard
for removal and compels a finding as a matter of law in favor of
the Department.

                          DISPOSITION

      We reverse the juvenile court’s disposition order finding
Israel Jr. was not in substantial danger to his physical health,



                                 29
safety, protection, or physical or emotional well-being if released
to Israel Sr. We remand for a further disposition hearing
consistent with this opinion. On remand, the court shall consider
the appropriate disposition based on the facts existing at the time
of the hearing. Because we reverse the juvenile court order
releasing Israel Jr. to his father, we lift the stay we imposed on
March 29, 2023 in granting the Department’s petition for writ of
supersedeas. Israel Jr. remains detained from Israel Sr.
pursuant to the November 14, 2022 detention order until a
further disposition order is made.




                                          FEUER, J.
We concur:




             SEGAL, Acting P. J.




             STONE, J.




                                30
